 Case 1-18-42150-ess            Doc 21   Filed 07/16/18     Entered 07/16/18 17:59:45




                                  KrvrN B. ZtzzeRA
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       aAdmitted in NY and NJ


                                                                July 16,2018



Via ECF
Honorable Elizabeth Stong
United States Bankuptcy Court
271-C Cadman Plaza East
Brooklyn. NY 1 1201- I 800

               Rc      David Tinyanoff
                       Chapter 7 tsankruptcy No: l8-42150


Dear .ludge Stong,

       Neither myself nor the debtor will be appearing to oppose the U.S. Trustee's
motion to dismiss the debtor's above-ref'erenced Chapter 7 case on tomorrou's calendar.
The debtor is aware that he is unable to receive a Chapter 7 discharge in this case and the
purpose of the filing u,as to arrange lor loss miligalion.

        Should the Court require anl.thing further regarding this matter, please do not
hesitate to contact the undersigned. Thank you.




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                                                     Kevin B.                    )
